Case 2:05-cV-02306-.]DB-tmp Document 12 Filed 07/13/05 Page 1 of 3 Page|D 10

rN THE UNITED STATES DtsTRlCT COURT F“'ED BY ~»~ 93

FOR THE WESTERN DISTR]CT OF TENNESSEE 05 JUL l 3 AH m. 55

 

 

WESTERN DIVISION
PATRICIA JE-AN DISNEY, )
)
P}aintift`, )
)
vs. ) Civil No. 05-2306-BP
) Judge J. Danie] Breen
STATE FARM FIRE & CASUALTY ) Magistrate Judge Tu M. Pharn
COMPANY, )
)
Defendant. )

 

TPR{~)PGSE-Dl
oRDER GRANTlNG DEFENDANT'S MoTION FOR LEAVE To FILE REPLY To

PLAINTIFF'S RESPONSE TO DEFENDANT‘S MOTION 'l`O DISMISS AND F()R
ORDER DIRECTING PAYMENT OF FEES AND EXPENSES

 

This matter is before the Court upon State Fann Fire & Casualty Cornpany_, lnc.'S M_otion
for Leave to File Reply to Plaintiffs Response to Defendant's Motion to Dismiss and for Order
Directing Payment of Fees and Expenses. The Court finds that the Motion is well taken and

Should be granted Therefore, the Defendant's Motion for Leave to File Reply is hereby

GRANTED. JD
Date: @dko_` ll 1305

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Subrnitted by,

  
 

/H;

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CERTIFICATE OF SERVICE

l hereby certify that l have served a true and correct copy of the foregoing upon counsel
for Plainliff, Thomas D. Yeagli , 140 Jeft`erson Avenue l\/lemphis, Tennessee 38103, via U. S.

Mail, postage pre~paid this 5 day of j" viz , 2005.

l`vl /\]N[ ¥8‘~)570 vl
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l I"ISTRCT oURT - WESTNER DISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02306 Was distributed by faX, mail, or direct printing on
.1 uly 13, 2005 to the parties listed

 

 

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Honorable .1. Breen
US DISTRICT COURT

